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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  MALCOLM MEDLEY,

                            Plaintiff,

                  v.                                      Civil Action No. 21-0534 (RC)

  CHARLOTTE A. BURROWS, in her official
  capacity as Chair, U.S. Equal Employment
  Opportunity Commission,

                            Defendant.


               NOTICE OF DEFENDANT’S WITHDRAWAL OF MOTION

       Defendant Charlotte A. Burrows, Chair, U.S. Equal Employment Opportunity

Commission, by and through her undersigned counsel, hereby withdraws Defendant’s pending

motion to dismiss (ECF No. 15). Defendant’s motion to dismiss was based on failure to exhaust,

and that motion is now moot. Pursuant to Rule 12(a)(4) of the Federal Rules of Civil Procedure,

Defendant intends to answer the Complaint within fourteen days (i.e., by November 8, 2021).

       Defendant further notes that, on October 22, 2021, Plaintiff informed Defendant of his

intent to proceed pro se.

                                         *    *       *
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Dated: October 25, 2021                      Respectfully submitted,

                                             CHANNING D. PHILLIPS, D.C. Bar No. 415793
                                             Acting United States Attorney

                                             BRIAN P. HUDAK
                                             Acting Chief, Civil Division

                                      By:    /s/ Douglas C. Dreier
                                             DOUGLAS C. DREIER, D.C. Bar No. 1020234
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                                             Counsel for Defendant

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of October, 2021, I served a copy of the

foregoing Notice of Defendant’s Withdrawal of Motion by causing a copy of the document to be

sent via U.S. Mail, postage prepaid, to the following address:

       Malcolm Medley
       18 Glencliff Road
       Roslindale, MA 02131

                                              /s/ Douglas C. Dreier
                                              Douglas C. Dreier
                                              Assistant United States Attorney




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